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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

ANMBREEN SHAH an individual, on
behalf of herself and all others similarly situated,

                 Plaintiff,                              JURY TRIAL

V.                                                       CIVIL ACTION NO

                                                        3:10-cv-01042-SRU


WESTERN MASS CREDIT CORPORATION


                 Defendant.                              APRIL 4, 2011


          AMENDED CLASS ACTION COMPLAINT AND JURY DEMAND


        Plaintiff, Anmbreen Shah, an individual, on behalf of herself and all others

similarly situated, sues Defendant Western Mass Credit Corporation, a collection agency

based in Massachusetts, which is also doing business in Connecticut and is licensed as a

collection agency.

I. PRELIMINARY STATEMENT

1. This is an action brought pursuant to 15 U.S.C. §1692, et seq., known more commonly

as the "Fair Debt Collection Practices Act" ("FDCP A"), which prohibits debt collectors

from engaging in abusive, deceptive, and unfair practices.
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II. JURISDICTION

2. The jurisdiction of this Court arises under 15 U.S.C. §l692k and 28 U.S.C. §1337.

This case was removed from state court to this Court by Defendant on or about July 1,

2010, citing 28 U.S.C. §§1331, 1332, 1441, and 1446.

III. ALLEGATIONS AS TO PARTIES

3. Plaintiff, Anmbreen Shah ("Ms. Shah"), is sui juris and a resident of Branford,

Connecticut.

4. At all times material hereto, Defendant Western Mass Credit Corporation ("Western

Mass"), was a foreign corporation, doing business in the State of Connecticut.

5. Defendant was engaged in the collection of debts from consumers using the mail and

telephone. Defendant regularly attempts to collect consumer debts alleged to be due to

other persons or entities for which Defendant acts in the State of Connecticut.

IV. FACTUAL ALLEGATIONS

6. For an extended period of time, Western Mass sent collection notices to Ms. Shah and

numerous other Connecticut consumers, alleging past due amounts and deficiencies

arising out of vehicle repossessions by Santander Consumer USA, Inc. In the course of

those repossessions, however, the consumers were not provided with required notices

pursuant to Article 9 Part 6 of the Uniform Commercial Code (“UCC”) and the RISFA

§36a-785.

7. Subsequent to the repossession sale of Ms. Shah’s car, Santander attempted to collect

an alleged deficiency from Mr. Shah. Later, Santander retained Western Mass to

continue that collection effort.
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8. Prior to filing this action, Ms. Shah asked Western Mass for copies of all required

Notices that Santander may contend were provided to her, as well as any proof (green

post office receipts, for example) that Ms. Shah received such notices. Western Mass has

never provided any such documentation to Ms. Shah, yet continued to attempt to collect

this alleged debt through July 26, 2010.

9. A true and correct copy of the collection notes tendered by Western Mass to the Court

as a business record at a hearing on March 11, 2011, is attached hereto and incorporated

by reference as Exhibit "1."

10. Defendant knew or should have known that this debt was not valid on the many

occasions when it pursued collection as reflected in Exhibit 1, and has failed to validate

the debt upon the Plaintiff’s numerous disputes of the debt.

11. Defendant’s own collection notes show that the Plaintiff disputed this debt, on

August 6, 2009 and asked Western Mass to itemize the debt or “breakdown and provide a

payment history.”

12. Plaintiff through her counsel contacted the Defendant via telephone and facsimile

letter on March 8, 2010, requesting documentation of the required notices pursuant to

Article 9 Part 6 of the UCC and RISFA §36a-785. (See Exhibit “2”).

13. Defendant was on notice on March 8, 2010 that the Plaintiff did not receive the

legally required notice of repossession from the original creditor Sovereign Bank.

14. Plaintiff through counsel called the Defendant Western Mass on March 15, 2010 and

spoke to a collection agent, and again requested the documentation and was advised to

wait.
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15. Plaintiff through counsel contacted the Defendant March 30, 2010 via facsimile letter

and advised Defendant that Plaintiff intended to file suit and that the Defendant was

aware or should be aware that the Plaintiff never received required notices after

repossession and that the Defendant had notice and prior dealings with Sovereign Bank --

who had sold Plaintiff’s account, and others, to Santander -- and was aware of Sovereign

Bank’s dealings with consumer debtors. See Vera Fields v. Western Mass Credit Corp

Case No. 3:05CV 1909 SRU.

16. Defendant replied to Plaintiff’s counsel’s letter on March 31, 2010. See Exhibit “4.”

17. Defendant through their agent “Linda R. Lata” stated they requested additional time

to locate the documentation Plaintiff requested.

18. Defendant, despite not having validated the debt, stated through their agent, Linda R.

Lata, “The debt is still valid and the debtor still owes it.” See Exhibit 4.

19. Defendant was still attempting to collect the alleged debt through March 31, 2010.

20. Defendant, through their collection agent also stated it had in fact charged the

Plaintiff a 15% collection fee, which violates §1692f and this Court’s prior ruling in Vera

Fields v. Western Mass Credit Corp Case No. 3:05CV 1909 SRU.

21. Defendant’s collection notes do not reflect any of the calls the Plaintiff’s counsel

made in March of 2010 or the letters sent on March 8, 2010 or March 30, 2010.

22. Defendant’s collection notes do not reference the letter from the Defendant’s

collection agent “Linda R. Lata” dated March 31, 2010.
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23. Defendant’s business records show on March 11, 2011 a request for the mailing of

the “initial collection letter” to be produced for the Plaintiff and the Court at the March

11, 2011 hearing.

24. Defendant’s records have been tendered to the Court with the explanation that the

date of the initial collection letter (Exhibit “5”) was November 4, 2008.

V. DEFENDANTS' PRACTICES

25. Ms. Shah, as Class Representative is informed, believes, and thereby alleges that, in

the six (6) years preceding the filing of the Complaint herein, Western Mass has

unlawfully collected or attempted to collect deficiency balances from consumers who

were not issued correct post-repossession notices by Sovereign Bank/Santander, without

accounting for a set-off in the amount of statutory damages set forth under CGS § 42a-9-

625.

26. Ms. Shah, as Class Representative is informed, believes, and thereby alleges that

based upon the Defendant’s letter of March 31, 2010, the amount of debt collected by the

Defendant Western Mass was inflated by 15% which represented an improper collection

fee.

27. In addition to the unlawful collection or attempt to collect deficiency balances from

consumers who did not owe such debts as a matter of law, Western Mass has maintained

a practice and policy of reporting to the three national consumer reporting agencies,

Equifax Credit Information Services, Inc., Experian, Inc., and TransUnion, LLC

(hereinafter referred to collectively as the (“CRAs”), derogatory information concerning
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Ms. Shah and the members of the class which failed to account for the statutory

presumption and/or the set-off for statutory damages described herein.

VI. CLASS ACTION ALLEGATION

28. Plaintiff incorporates the allegations of paragraphs 1 – 27 as if fully set forth herein.

29. Plaintiff brings this class action to obtain relief for violations of the Federal Fair Debt

Collection Practices Act, 15 U.S.C. §1692e and 1692f (“FDCPA”) and the Connecticut

Unfair Trade Practices Act (“CUTPA”), Conn. Gen. Stat. §42-110a.

30. The FDCPA protects the least sophisticated consumer from false, misleading, or

unfair collection tactics, and prohibits a debt collector from, inter alia, making false

representations about the character, amount or legal status of any debt, and from

collecting or attempting to collect sums that are not allowed by law.

31. The FDCPA and CUPTA are violated by omissions as well as by affirmative

misrepresentations. See, 15 U.S.C. §1692e(2), (5), (10); §1692f(1).

32. In this case, Western Mass engaged in such activity by its repeated attempts to

collect deficiencies which were not properly due or owed under Connecticut law, which

the creditor would have been barred from collecting and which this Defendant either

knew or should have known were not properly due or owing.

33. The class is defined as follows:

              All Connecticut residents from whom Western Mass Credit
              Corporation has attempted to collect debts, during the six
              years preceding the filing of this lawsuit, where the alleged
              debts arose of personal car loans with Sovereign Bank or its
              successors, and Sovereign Bank or its successors repossessed
              the cars.
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34. Upon information and belief, the class numbers in the hundreds or more, and is

therefore so numerous as to make joinder impracticable

35. There are common legal and factual issues with respect to the class as a whole,

arising out of the uniform failure of Sovereign Bank or its successors to provide

defaulting consumer borrowers with legally required notices upon repossession of their

cars, and Western Mass’s corresponding violations of the FDCPA and CUPTA that

impacted all class members in substantially the same manner.

36. The named Plaintiff’s claims are typical of other class member’s claims in that she

raises the identical issues with respect to the lenders’ obligation to provide adequate

notices to defaulting borrowers, and pursues the same legal theory of recovery as to the

debt collector, Western Mass, that attempted to collect debts which were not legally

owed.

37. The named Plaintiff is an adequate representative of the class in that she has no

conflicts of interest with the class, and has retained counsel who are experienced in

representing consumers and in prosecuting class actions.

38. Common legal and factual issues predominate in this action as to all class members

because the Defendant’s debt collection practices have been improper as to all class

members for precisely the same reason: the debts arising out of Sovereign Bank car

loans were not legally due, and the 15% collection fee is improper as to all class

members.

39. The case is ideally suited for class treatment and there will be no difficulties in the

management of the case as a class action; the consumer class members’ individual claims
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may be too small to pursue economically on an individual basis, and many of the

consumer class members may be unaware of their rights. In addition, the Defendant is in

possession of recent addresses for all class members.

40. As a direct and proximate result of the acts hereinabove alleged and Western Mass.’s

ongoing unlawful conduct in pursuit of improperly alleged deficiencies, the Class

Representative and class members have been damaged and have suffered economic

losses in an amount to be proven at trial.

COUNT I – FDCPA

41. The allegations of paragraphs 1 through 40 are incorporated herein by reference as if

fully set forth.

42. As detailed above, since the repossession of the vehicles of the Class Representative

and the class members, Western Mass has wrongfully collected and/or reported credit

information to the CRAs with respect to the consumer reports of the Class Representative

and the class members.

43. Western Mass knew or should have known that the debts were not owed, because

Western Mass has been asked repeatedly for the backup documentation but has been

unable to produce it. Despite this inability to locate the documents, Western Mass has

persisted in its collection efforts with respect to the named Plaintiff and the class as a

whole.

44. Western Mass has used false, deceptive, or misleading representations in its

communications with the named Plaintiff and the class members by making false
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representations in its written and verbal communications about the character, amount, and

legal status of the alleged debt.

45. Western Mass has also used unfair or unconscionable means to collect debt from the

named Plaintiff and the class members by collecting or attempting to collect debt that is

not permitted by law.

46. In addition to the foregoing, Western Mass has tacked on a 15% surcharge as a

collection fee, although the fee is not allowable under the FDCPA and the collection of

such a fee is an independent violation under the statute.

47. The Class Representative and the class members do not have an adequate remedy at

law with respect to the continued collection and/or reporting of materially inaccurate

adverse credit information to the CRAs.

48. The Class Representative and the class members will suffer irreparable injury if

Western Mass is not enjoined from the future wrongful collection and reporting of

adverse information to the CRAs.

COUNT II – CUPTA

49. The allegations of paragraphs 1 through 48 are incorporated herein by reference as if

fully set forth.

50. As set forth more fully above, Western Mass has committed one or more unfair or

deceptive acts or practices in violation of CUTPA including, but not limited to, asserting

a right to collect deficiencies that were improperly alleged after Sovereign Bank/

Santander failed to disclose to Ms. Shah and Class Members their rights pursuant to

required Notices of Repossession and Sale.
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PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, an individual, prays for relief on behalf of herself and all

other similarly situated as follows:

       A.     For an order certifying this claim as a class action;

       B.     For statutory damages in excess of $15,000 under the Uniform Commercial

Code provisions governing the underlying transactions, for each class member in the

amount of either the credit service charge plus ten percent of the principal amount of the

obligation, or the time-price differential plus ten percent of the cash price, whichever is

greater, according to proof, pursuant to § 42a-9-625(3)(b), and for all amounts that have

been collected by Western Mass arising out of Santander repossessions that were carried

out without the required notices, including but not limited to any 15% surcharges that

Western Mass has added on to the class members’ alleged debts;

       C.     For an order preliminarily and permanently enjoining Western Mass from

engaging in the practices alleged herein on behalf of Santander in the absence of proper

repossession notices;

       D.     For an order of mandatory injunction directed to Western Mass to remove

any adverse credit information which may have been wrongfully reported on the

consumer reports of the class members;

       E.     For pre-judgment interest to the extent permitted by law;

       F.     For an award of attorneys’ fees, costs and expenses incurred in the

investigation, filing and prosecution of this action to the extent permitted by law; and

       G.     For such other and further relief as the Court may deem just and proper.
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                       DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury of all issues so triable.

                                            THE PLAINTIFF

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                                      CERTIFICATION

I hereby certify that on 4/4/11 a copy of the foregoing was filed electronically and served
by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.




BY/S/Bernard T. Kennedy
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